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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                No. 11-238V
                          Filed: January 29, 2015
                              UNPUBLISHED
* * * * * * * * * * * * *
OMAR DEL RIO,                  *
                               *
              Petitioner,      *            Stipulation; Damages
                               *            Flu; GBS; CIDP;
v.                             *            Transverse Myelitis
                               *
SECRETARY OF HEALTH            *
AND HUMAN SERVICES,            *
                               *
              Respondent.      *
* * * * * * * * * * * * *
Diana Stadelnikas Sedar, Maglio, Christopher and Toale, PA (FL), Sarasota, FL, for petitioner.
Glenn Alexander MacLeod, U.S. Dep’t. of Justice, Washington, DC, for respondent.

                                   DECISION ON JOINT STIPULATION 1

Gowen, Special Master:

       On April 15, 2011, Omar Del Rio (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner
alleged that as a result of receiving an influenza (“flu”) vaccine on or about November 11,
2010, he suffered Guillain-Barre syndrome [GBS], Chronic Inflammatory Demyelinating
Polyneuropathy [CIDP], and/or Transverse Myelitis [TM]. Stipulation ¶ 2, 4, filed Jan. 28, 2015.
Further, petitioner alleged that he experienced residual effects of this injury for more than six
months. Id. at ¶ 4.

      On January 28, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccine caused

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   Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2006)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.


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petitioner to suffer from GBS, CIDP, and/or TM or any other injury, and denies that his current
disabilities are sequelae of a vaccine-related injury.. Id. at ¶ 6. Nevertheless, the parties
agree to the joint stipulation, attached hereto. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set
forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        a) A lump sum of $537,502.80, which amount represents compensation for first
           year life care expenses ($152,502.80), lost earnings ($150,000.00), pain and
           suffering ($160,000.00), and past unreimbursable expenses ($75,000.00), in the
           form of a check payable to petitioner, Omar Del Rio;

            The amount set forth in paragraph (a) represents compensation for all
            damages that would be available under § 300aa-15(a), except as set forth in
            paragraphs (b) and (c) below.

        b) A lump sum of $12,685.00, which amount represents payment of an
           outstanding medical bill from Craig Lichtblau, M.D., P.A., in the form of a
           check payable jointly to petitioner and

                                              Craig H. Lichtblau, M.D., P.A.
                                                  550 Northlake Blvd.
                                              North Palm Beach, FL 33408

            Petitioner agrees to endorse this payment to Craig H. Lichtblau, M.D., P.A., and;

        c) An amount sufficient to purchase an annuity contract to provide the benefits
           described in Paragraph 10 of the attached joint stipulation, to be paid to a life
           insurance company meeting the criteria described in Paragraph 9.

        Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation. 3

        IT IS SO ORDERED.

                                                  s/ Thomas L. Gowen
                                                  Thomas L. Gowen
                                                  Special Master


3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice renouncing the
right to seek review.


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